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            IN THE UNITED STATES DISTRICT COUROFF104:11\41,7ffDDLE
                DISTRICT OF ALABAMA SOUTHERN Did7fgrkr

                                                  2019 MAY 23 P 1 48
Rocky Creek Peanut Farm LLC              *
                                                 DE:8RA.R..f.i.AOKETT. CLK
Plaintiffs                                         U.S. DISTRICT COURT
                                                             -IMO'. ALA

vs.                                          Case Number I:lag-Cy- 3M



GEORGE ERVIN "SONNY" PERDUE, III*
UNITED STATES SECRETARY OF
AGRICULTURE, THE UNITED STATES
DEPARTMENT OF AGRICULTURE,
DEFENDANT
                          COMPLAINT

       1.     Jurisdiction of the United States District Court

of the Middle District of Alabama, Southern Division is

invoked pursuant to 28 USCS 1331, Federal Question.

Jurisdiction, 7 USCS 6999 and 28 USCS 2412.

       2.     Rocky Creek Peanut Farm LLC , iS the name of a

farMing bUsineSs located in Houston County, Alabama

referred to as "Rocky Creek" throughout the remainder of

complaint. Those      thinqš   made the basis of this complaint

arise from activitieS occurring within the Middle District

of Alabama, Southern DiViSion.

       3.     Rocky Creek has received a favorable ruling from

the United States Department of AgricultUre, Office of the

Secretary, National Appeals Division, (at timeS NAD).



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Notwithstanding the favorable ruling, facts of which will

be set out with more particularity belOwi Rocky Creek has

not received payment betause the agency has not implemented

the ruling as required by law.

    3.      In 2017 Rocky Creek was a grower of row crops

including seedless watermelons. Plaintiff suffered losses

to its watermelon crop due to excessive moisture and Made a

claim for benefita Under the Noninsured Crop Disaster.

Assistance Program administered by the agency. Rocky Creek

was denied benefits by the agency. The plaintiff appealed

the decision of the agency to its Natiohal Appeals

Division.

    4.      The defendant is the United States Secretary of

AgritUlture, the Honorable George Ervin "Sonny" Perdue,

III, United States Department of Agriculture, (the agency),

bearing the legal responsibility to implement the decision

of the National Appeals DiVision within 30 days of the

favorable ruling which occurred on April 22, 2019 unless a

timely request for review is filed which did not occur. The

agency has not implemented the decisiOn as of the date of

this filing.




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     5.   The amount that is due Rocky Creek is readily

calculable by th.e agency. Rocky Creek has a clear legal

right to the relief Sought. Since ROcky Creek is entitled,

pursuant to the Non-Insured Crop Disaster Assistance

Program (NAP), to a readily calculable amount for its

losses there is no need to remand this matter to the agency

prior to judgment being entered.

     6.   The plaintiff filed a timely appeal from the

agency's decision of May 10, 2018 that denied benefits

under the program. On appeal from that decision the

administrative law judge found the disapproval of Rocky

Creek's claim for benefits was in etror and not supported

by the evidence. No request for review has been filed by

the agency, the period for filing a request for review has

expired and the NAD ruling is final. The final ruling was

entered on April 22, 2019.

    7. The agency's failure to implement the final

determination of the Administrative Law Judge even though

more than thirty days has elapsed from the effective date

of the final determination and the agency's failure to pay

the claim under the program is arbitrary, capricious and

contrary to 1.aw.



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      Wherefore Plaintiff seeks an order:

A.    Enforcing the ruling of the Administrative Law Judge

entere.d on 22nd day of April 2018;

B.    That the Agency be required to calculate and ptoVide'

the calculations of the benefits dUe Rocky Cre.ek as a

result of the ruling of the Administrative Law Judge;

C.    That the Agency be required to pay statutory interest

on the sums due under the Ruling of the AdministratiVe Law

Judge;

D.    That the Court enter jUdgMent for the benefits due as a

result of the ruling of the Administrative Law Judge and

interest.




                                        Charles N. Reese (REE010)
                                        Attorney for Plaintiffs
                                        P. O. Drawet 250
                                        1 Old Town Square
                                        Daleville, Alabama
                                        36322
                                        cnevillereese@mac.cOM
                                        334-598-6321
                                        334-598-4216 (facsimile)




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